339 F.2d 603
    David W. MARGULIES, Petitioner,v.FEDERAL TRADE COMMISSION, Respondent.
    Nos. 14898, 14899.
    United States Court of Appeals Third Circuit.
    Argued Dec. 14, 1964.Decided Dec. 29, 1964.
    
      Seymour J. Kehlmann, Blum, Jolles, Haimoff, Szabad &amp; Gersen, New York City, for petitioner.
      Louis R. Harding, Federal Trade Commission, Washington, D.C.  (James McI.  Henderson, General Counsel, J. B. Truly, Asst. Gen. Counsel, Charles C. Moore, Jr., Attorney, Attorneys for Federal Trade Commission, on the brief), for respondent.
      Before McLAUGHLIN, STALEY and HASTIE, Circuit Judges.
      PER CURIAM.
    
    
      1
      In both of the above petitions to review orders to cease and desist issued by the Federal Trade Commission, the individual petitioner is the only party seeking review.  In the No. 14898 administrative proceedings in addition to the present petitioner, Damar Products, Inc. and Product Testing Company, Inc. were also respondents.  In No. 14899 Around-the-World Shoppers Club, a corporation trading as Trans-World Shoppers Club and three other officers of said corporation in addition to the present petitioner, were respondents.
    
    
      2
      In both petitions petitioner contends that the cease and desist orders should not have issued against him in his individual capacity and that the orders are too broad in scope.  Under the admitted facts we are satisfied that the inclusion of petitioner in both orders in his individual capacity is fully justified and that the scope of the orders is warranted by the facts of both cases.  Proposed orders may be submitted by the Commission.
    
    